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                             UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION

    DANCO, INC.                                     §
                                                    §
                          Plaintiff,                §
                                                    §      CIVIL ACTION NO.
    vs.                                             §      5:15-CV-0073-JRG-CMC
                                                    §
                                                    §
    FLUIDMASTER, INC.
                                                    §
                                                    §
                          Defendant.                §
                                                    §
                                                    §

                    DEFENDANT FLUIDMASTER, INC.’S
          FIRST AMENDED ANSWER AND AFFIRMATIVE DEFENSES TO
                 PLAINTIFF’S FIRST AMENDED COMPLAINT
           Defendant Fluidmaster, Inc. (“Fluidmaster”), by its attorneys of record, responds

    to the allegations of the First Amended Complaint for Patent Infringement (“Complaint”)

    filed in this action by Plaintiff Danco, Inc. (“Danco” or “Plaintiff”) on November 30,

    2016, as follows:

                           NATURE AND BASIS OF THE ACTION

           1.      Fluidmaster admits that the Complaint purports to state a claim for patent

    infringement under the laws of the United States, and in particular 35 U.S.C. §§ 1, et seq.

    Fluidmaster denies all of the remaining allegations in Paragraph 1, including any

    allegation that Fluidmaster has infringed any asserted patent.

           2.      Fluidmaster lacks knowledge or information to form a belief as to the truth

    of the allegations in Paragraph 2 and therefore denies the same.

           3.      Fluidmaster lacks knowledge or information to form a belief as to the truth

    of the allegations in Paragraph 3 and therefore denies the same.

           4.      Fluidmaster admits that it manufactures toilet repair parts for the plumbing

    industry. Fluidmaster denies all of the remaining allegations in Paragraph 4.

           5.      Fluidmaster admits that it has manufactured and sold the DUO FLUSH


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    product through retailers such as Home Depot and Lowe’s. Fluidmaster denies all of the

    remaining allegations in Paragraph 5.

           6.       Fluidmaster denies all of the allegations in Paragraph 6, except that

    Fluidmaster admits that, in the Complaint, Danco seeks a preliminary injunction, a

    permanent injunction, and monetary damages.

                                         THE PARTIES

           7.       Fluidmaster lacks knowledge or information to form a belief as to the truth

    of the allegations in Paragraph 7 and therefore denies the same.
           8.       Fluidmaster admits that it is a California corporation with a place of

    business located at 30800 Rancho Viejo Rd, San Juan Capistrano, CA 92675.

    Fluidmaster also admits that Stephen Dixon is a Registered Agent of Fluidmaster.

    Fluidmaster denies all of the remaining allegations in Paragraph 8.

                                 JURISDICTION AND VENUE

           9.       Fluidmaster admits that the Complaint purports to state a claim for patent

    infringement under the laws of the United States, and in particular 35 U.S.C. §§ 1, et seq.

    Fluidmaster denies all of the remaining allegations in Paragraph 9, including any

    allegation that Fluidmaster has infringed any asserted patent.

           10.      At this time, Fluidmaster does not contest this Court’s subject matter

    jurisdiction over Danco’s claims.       Fluidmaster denies the remaining allegations in

    Paragraph 10.

           11.      Fluidmaster does not contest that the Court has personal jurisdiction over

    it. Fluidmaster denies the remaining allegations in Paragraph 11.

           12.      Fluidmaster denies the allegations in Paragraph 12. Fluidmaster will file a

    Motion to Dismiss or in the Alternative, Transfer Venue.

                                  FACTUAL BACKGROUND

                                   Danco and Its Patent Rights

           13.      Fluidmaster lacks knowledge or information to form a belief as to the truth


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    of the allegations in Paragraph 13 and therefore denies the same.

           14.     Fluidmaster lacks knowledge or information to form a belief as to the truth

    of the allegations in Paragraph 14 and therefore denies the same.

           15.     Fluidmaster lacks knowledge or information to form a belief as to the truth

    of the allegations in Paragraph 15 and therefore denies the same.

           16.     Fluidmaster lacks knowledge or information to form a belief as to the truth

    of the allegations in Paragraph 16 and therefore denies the same.

           17.     Fluidmaster admits that a copy of the ’620 Patent, entitled “Adaption of
    Flush Valve for Dual Flush Capacity,” appears to be attached to the Complaint as Exhibit

    A, and that the face of the patent indicates that it issued on February 3, 2015.

    Fluidmaster denies the remainder of the allegations in Paragraph 17, including that the

    ’620 Patent was duly and legally issued.

           18.     Fluidmaster admits that a copy of the ’687 Patent, entitled “Adaption of

    Flush Valve for Dual Flush Capacity,” appears to be attached to the Complaint as Exhibit

    B, and that the face of the patent indicates that it issued on November 15, 2015.

    Fluidmaster denies the remainder of the allegations in Paragraph 18, including that the

    ’687 Patent was duly and legally issued.

           19.     Fluidmaster lacks knowledge or information to form a belief as to the truth

    of the allegations in Paragraph 19 and therefore denies the same.

                          Fluidmaster’s Alleged Infringing Products

           20.     Fluidmaster admits that it offers for sale and sells the DUO FLUSH

    product. Fluidmaster denies the remainder of the allegations in Paragraph 20.

           21.     Fluidmaster admits that the DUO FLUSH product has been available for

    sale through various retailers such as Home Depot and Lowe’s, and that archived copies

    of web pages from the Home Depot and Lowe’s web sites dated June 9, 2016, appear to

    be attached to the Complaint as Exhibit C. Fluidmaster denies the remainder of the

    allegations in Paragraph 21.


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            22.     Fluidmaster admits that a copy of advertising materials for the DUO

    FLUSH product appears to be attached to the Complaint as Exhibit D, and that such

    materials include the quoted portion of Paragraph 22. Fluidmaster denies the remainder

    of the allegations in Paragraph 22.

            23.     Fluidmaster denies the allegations in Paragraph 23.

            24.     Fluidmaster denies the allegations in Paragraph 24.

              COUNT I – ALLEGED INFRINGEMENT OF THE ’620 PATENT

            25.     Fluidmaster incorporates by reference its responses to Paragraphs 1-24 as
    if fully stated herein.

            26.     Fluidmaster denies the allegations in Paragraph 26.

            27.     Fluidmaster admits that a copy of a claim chart appears to be attached to

    the Complaint as Exhibit E. Fluidmaster denies the remainder of the allegations in

    Paragraph 27, as well as those contained in Exhibit E, including any allegation that

    Fluidmaster has infringed the ’620 Patent.

            28.     Fluidmaster denies the allegations in Paragraph 28.

            29.     Fluidmaster denies the allegations in Paragraph 29.

            30.     Fluidmaster denies the allegations in Paragraph 30.

            31.     Fluidmaster denies the allegations in Paragraph 31.

            32.     Fluidmaster denies the allegations in Paragraph 32.

            33.     Fluidmaster denies the allegations in Paragraph 33.

              COUNT II – ALLEGED INFRINGEMENT OF THE ’687 PATENT

            34.     Fluidmaster incorporates by reference its responses to Paragraphs 1-33 as

    if fully stated herein.

            35.     Fluidmaster denies the allegations in Paragraph 35.

            36.     Fluidmaster admits that a copy of a claim chart appears to be attached to

    the Complaint as Exhibit F. Fluidmaster denies the remainder of the allegations in

    Paragraph 36, as well as those contained in Exhibit F, including any allegation that


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    Fluidmaster has infringed the ‘687 Patent.

           37.     Fluidmaster denies the allegations in Paragraph 37.

           38.     Fluidmaster denies the allegations in Paragraph 38.

           39.     Fluidmaster denies the allegations in Paragraph 39.

           40.     Fluidmaster denies the allegations in Paragraph 40.

           41.     Fluidmaster denies the allegations in Paragraph 41.

           42.     Fluidmaster denies the allegations in Paragraph 42.

                             ANSWER TO PRAYER FOR RELIEF
           Fluidmaster incorporates by reference its responses to Paragraphs 1-42 of the

    Complaint and denies that Danco is entitled to any relief requested in Paragraphs (A)-(I)

    of Danco’s Prayer for Relief.

                       ANSWER TO DEMAND FOR TRIAL BY JURY

           Fluidmaster admits that Danco has requested a trial by jury.

                                            DEFENSES

           Pursuant to Federal Rule of Civil Procedure 8(c), Fluidmaster asserts the

    following defenses to the causes of action asserted in the Complaint, undertaking to prove

    only those defenses on which it bears the burden of proof under the applicable law:

                                         FIRST DEFENSE
                                         (No Infringement)
           1.      Fluidmaster has not and does not infringe, willfully or otherwise, any valid

    and enforceable claim of the ’620 or ’687 Patents, either literally or under the doctrine of

    equivalents.

                                        SECOND DEFENSE
                                    (Invalidity, Unenforceability)
           2.      The ’620 and ’687 Patents, and each claim thereof, are invalid and/or

    unenforceable for failing to comply with one or more of the requirements of the Patent

    Act, 35 U.S.C. § 1, et seq., including, but not limited to, 35 U.S.C. §§ 101, 102, 103, 112,




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    and/or 282. For example, and without limitation, at least claim 1 of the ’620 Patent is

    anticipated by the Lab B228 Fluidmaster 550A01B dual flush valve (the “LAB device”),

    which was on sale and sold prior to the critical date of the ’620 Patent; and at least claim

    1 of the ’687 Patent is obvious over the LAB device in view of U.S. Patent No.

    5,864,893.

           3.        The ’620 and ’687 Patents are unenforceable because Danco has misused

    these patents by attempting to enforce them despite knowing that they are invalid and/or

    not infringed.
                                        THIRD DEFENSE
                                   (Notice, Damages, and Costs)
           4.        Pursuant to 35 U.S.C. § 286, any recovery by Danco is limited to any

    alleged infringement that occurred no more than six years prior to the filing of its

    Complaint against Fluidmaster.

           5.        To the extent Danco failed to comply with the notice provisions of 35

    U.S.C. § 287, Danco may not recover damages for alleged infringement of the ’620 and

    ’687 Patents committed prior to the filing of its Complaint against Fluidmaster.

           6.        Danco is barred from recovering costs in connection with this action under

    35 U.S.C. § 288.

                                       FOURTH DEFENSE
                                     (Not an Exceptional Case)
           7.        Danco cannot prove that this is an exceptional case justifying an award of

    attorney fees against Fluidmaster pursuant to 35 U.S.C. § 285.

                                        FIFTH DEFENSE
                                       (No Injunctive Relief)
           8.        Danco is not entitled to injunctive relief because, among other reasons,

    any alleged injury to Danco is not immediate or irreparable, and Danco has an adequate

    remedy at law.




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                                       SIXTH DEFENSE
                                        (Improper Venue)
           9.      Danco is barred from pursuing its claims in the Eastern District of Texas

    because venue is improper, and the First Amended Complaint, and each purported claim

    contained therein, with respect to Fluidmaster should be dismissed under Rule 12(b)(3) of

    the Federal Rules of Civil Procedure or, in the alternative, transferred to the proper

    venue. Pursuant to 28 U.S.C. § 1400(b), venue in the United States District Court for the

    Eastern District of Texas is improper, as Fluidmaster neither resides, nor has committed

    acts of infringement and has a regular and established place of business in the Eastern

    District of Texas. Pursuant to TC Heartland LLC v. Kraft Foods Group Brands LLC, 581

    U.S. __ (2017), Danco’s suit for patent infringement cannot be brought against

    Fluidmaster in the Eastern District of Texas.


                                                    Respectfully submitted,

           Dated June 2, 2017                  s/Richard P. Sybert

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                                                  CERTIFICATE OF SERVICE

                              I hereby certify that the above and foregoing document was electronically filed
                      with the Clerk of the United States District Court for the Eastern District of Texas by
                      using the CM/ECF system, which will send a Notice of Electronic Filing, and served
                      upon all parties in accord with Local Rule CV-5(a)(3).

                             Executed on this 2nd day of June, 2017.

                                                                   /s/ Maria Gonzalez
                                                                          Maria Gonzalez




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